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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF IOWA
                                   CENTRAL DIVISION

 TED CHARLES RASMUSSON,                                          4:19-cv-00325-CRW-HCA

                   Plaintiff,

 vs.


 MONSANTO COMPANY, INC.,                                      ORDER SETTING STATUS
                                                                 CONFERENCES

                    Defendant.




        The Court will conduct status conferences by telephone for this case pursuant to the

following schedule:

                       August 20, 2020 at 10:30 AM
                       October 23, 2020 at 10:30 AM
                       December 18, 2020 at 10:30 AM
                       February 18, 2021 at 10:30 AM
                       April 18, 2021 at 10:30 AM
                       June 18, 2021 at 10:30 AM

        To join the telephonic status conferences, counsel shall call the court's conference line at

1-877-336-1829 and enter access code 1176783 at the prompt to join the call.

        The parties shall file in the docket a list of any proposed matters to be discussed during the

upcoming status conference no less than 48-hours prior to the status conference. The list may

be submitted jointly or separately by each party. If any party anticipates that the status conference

will take longer than 30-minutes and/or would like a court reporter for the status conference, this

should also be indicated in the same filing.
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       If the parties believe that there are no matters to be discussed at the upcoming status

conference, this should also be indicated in a filing no less than 48-hours prior to the status

conference. The parties should directly address whether they are on track to meet the deadlines

set by the Court’s Scheduling Order and Discovery Plan. If the parties are not on track to meet the

deadlines set by the Court’s Scheduling Order and Discovery Plan (regardless of any informal

deadline extensions agreed on by the parties), the parties should so state and explain why. Based

on this information, the Court will determine whether to cancel the status conference.

       If any party believes that it would be beneficial to hold an additional status conference that

is not set by the above schedule, that party shall indicate that they desire an additional status

conference and explain why in a filing in the docket. That party shall also indicate whether they

anticipate the status conference will take longer than 30-minutes and whether they would like a

court reporter to be present.

       IT IS SO ORDERED.

       Dated May 6, 2020.




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